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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                      MDL NO 2924
   PRODUCTS LIABILITY                                                               20-MD-2924
   LITIGATION

                                                         JUDGE ROBIN L ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE REINHART

   __________________________________/

   THIS DOCUMENT RELATES TO:
   ALL CASES

                                 PRETRIAL ORDER # 43
                  Order Setting Forth Service of Process of Short Form
          Complaints on Generic, Distributor, Repackager, and Retailer Defendants

   I.     SCOPE OF THE ORDER

          This Order applies only to personal injury claims brought by Plaintiffs in MDL 2924

   (whether they are directly filed in or transferred to the MDL) based on usage or purchase of

   Zantac or ranitidine in the United States. Pursuant to Amended Pretrial Order # 31, which

   requires all Plaintiffs bringing actions for personal injuries to file a Short Form Complaint,

   this Order sets forth procedures for service of process of Short Form Complaints on those

   Generic, Distributor, Repackager, and Retailer Defendants identified on the attached

   Exhibit A that are citizens of the United States and on whom Plaintiffs have formally served

   the Master Personal Injury Complaint in accordance with Rule 4 of the Federal Rules of Civil

   Procedure (the “Non-Brand U.S. Defendants”). This Order applies to Non-Brand U.S.

   Defendants named in the Master Personal Injury Complaint [docket entry 887] as of the date

   of this Order and, in Section III, provides a process for additional Defendants to opt-in to the

   procedures set forth in this Order.
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   II.    STREAMLINED SERVICE OF PROCESS OF SHORT FORM COMPLAINTS

          Plaintiffs may serve Short Form Complaints on those Non-Brand U.S. Defendants

   identified on the attached Exhibit A via electronic mail in accord with the procedures set

   forth in this Order.

          A.      The procedures set forth in this Order for service of process are not available

   in cases in which the Plaintiff seeks remand to state court unless and until remand is denied.

   For a Plaintiff seeking remand, any deadlines set forth in this Order run from the date on

   which remand is denied.

          B.      Within fourteen (14) days from the date of this Order, the Non-Brand U.S.

   Defendants currently named in the Master Personal Injury Complaint shall provide Plaintiffs’

   Co-Lead Counsel with a single Joint Notice of Email Addresses for Purposes of Email

   Service of Short Form Complaints on Non-Brand U.S. Defendants (the “Joint List”). The

   Joint List shall identify one email address for each Non-Brand U.S. Defendant currently

   named in the Master Personal Injury Complaint at which each Non-Brand U.S. Defendant

   will accept email service of Short Form Complaints. Plaintiffs’ Co-Lead Counsel shall

   provide the Joint List to its vendor, BrownGreer, for use in connection with the MDL

   Centrality platform for the service of Short Form Complaints. Within five (5) business days

   of the Court entering an Order dropping any Defendant from the Master Personal Injury

   Complaint, Defendants’ Liaison Counsel shall provide an updated Exhibit A and Joint List

   to Plaintiffs’ Co-Lead Counsel and BrownGreer.            Plantiffs’ Co-Lead Counsel and

   BrownGreer shall cause the BrownGreer portal to be updated. After those five (5) business

   days, the dropped Defendant shall no longer be subject to service either by email under the

   terms of this Order or through the BrownGreer MDL Centrality Platform under the terms of




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   Pretrial Order # 44 (unless the Defendant subsequently opts back in under Section III of this

   Order).

          C.      To the extent a Defendant who is dropped from the Master Complaint was

   previously served pursuant to this Pretrial Order, that service of process remains effective on

   that dropped Defendant.

          D.      Plaintiffs may, at their option, serve file-stamped Short Form Complaints on

   each Non-Brand U.S. Defendant that is a named Defendant in the current Master Personal

   Injury Complaint at the email address identified in the Joint Notice, subject to the following

   conditions:

                  1.     No summons is required.

                  2.     The sending of a Short Form Complaint to the email address designated

   by the Non-Brand U.S. Defendant pursuant to paragraph B above shall constitute service on

   the Non-Brand U.S. Defendant if it satisfies the additional requirements in sub-section (c) below.

                  3.     Each Short Form Complaint shall be served individually (i.e., one Short

   Form Complaint per email), and the subject line of each email shall state the Plaintiff’s first and

   last name, as well as the originating court. All Non-Brand U.S. Defendants named in the Short

   Form Complaint may be served in a single email. The body of each email must also include contact

   information for the Plaintiff’s counsel of record and specify the Defendant(s) being served.

                  4.     If a Plaintiff serves a Short Form Complaint through MDL Centrality

   through the procedure set forth in Pretrial Order # 44, service shall be deemed completed and

   received by all Defendants identified on the then-current Exhibit A. Upon service by Defendants’

   Liaison Counsel of an updated Exhibit A or Joint List as required in paragraph B above, Plaintiffs’

   Co-Lead Counsel and BrownGreer will update the MDL Centrality system accordingly. Plaintiffs’




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   Co-Lead Counsel and BrownGreer are responsible for programming MDL Centrality to include

   the proper Defendants and email addresses provided by Defendants’ Liaison Counsel for service

   of process.

            E.       Beginning September 28, 2020, and on each Monday thereafter, BrownGreer shall

   send a report of the Short Form Complaints served the prior week, identifying for each those

   Non-Brand U.S. Defendants served. This report shall be sent to JThomas@blankrome.com.

   Generic Liaison Counsel, or their delegate, will distribute the list among Non-Brand U.S.

   Defendants. The parties will use the service report to begin a meet and confer process to resolve

   defects in the service procedures outlined herein.

            F.       Pending further Order of this Court, Non-Brand Defendants are not required to

   answer or otherwise respond to Short Form Complaints served pursuant to this Order. Other than

   defenses based on service of process, Non-Brand U.S. Defendants do not waive any available

   rights or defenses under federal or state law and applicable treaties and conventions.

   III.     APPLICABILITY TO ADDITIONAL DEFENDANTS

            A.       Any Defendant added to the Master Personal Injury Complaint after the date

   of this Order may consent to electronic service under the terms of this Order and Pretrial

   Order # 44. Within the greater of seven (7) days of the date of this Order or twenty-one (21)

   days of the date of service of the Master Personal Injury Complaint, any added Defendant

   shall notify its designated Liaison Counsel and the Coordinating Counsel of its willingness

   to be bound by this Order and, if consenting, shall provide an email address for service of

   process. 1     Liaison Counsel and Coordinating Counsel shall then communicate with


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    Added Defendants are advised that their addition to the Master Complaint triggers several deadlines, and they may
   consult with designated Liaison Counsel about those deadlines. The names of the individuals serving as Liaison
   Counsel and Coordinating Counsel as of the date of this Order, and their contact information, is set forth in Pretrial
   Order # 27.


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   Defendants’ Liaison Counsel to ensure that Exhibit A and the Joint List are updated and

   circulated in accordance with Section II.B of this Order.

          B.     Any Defendant, whether foreign or domestic, may consent to electronic

   service under the terms of this Order and Pretrial Order # 44 by notifying its designated

   Liaison Counsel and the Coordinating Counsel of its willingness to be bound by this Order

   and by providing an email address for service of process.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 25th day of

   September, 2020.



                                                     ROBIN L. ROSENBERG
                                                     UNITED STATES DISTRICT JUDGE




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                         In Re: Zantac (Ranitidine) Product Liability Litigation
                                                      MDL No 2924
                                                        Exhibit A
                        Order for Service of Short Form Complaints on Non‐Brand US Defendants




              Defendant
              Actavis Mid Atlantic LLC
              Ajanta Pharma USA Inc
              Albertson’s Companies, Inc
              Amazon.com, Inc.
              Amerisource Health Services, LLC d/b/a American Health Packaging
              AmerisourceBergen Corporation
              Amneal Pharmaceuticals LLC
              Amneal Pharmaceuticals of New York, LLC
              Amneal Pharmaceuticals, Inc.
              ANDA Repository, LLC
              Apotex Corporation
              Appco Pharma LLC
              Auro Health LLC
              Aurobindo Pharma USA, Inc.
              BJ’s Wholesale Club Holdings, Inc.
              Cardinal Health, Inc
              Chattem, Inc.
              Contract Pharmacal Corp.
              Costco Wholesale Corporation
              CVS Pharmacy, Inc
              Denton Pharma Inc. d/b/a Northwind Pharmaceuticals
              Dolgencorp, LLC
              Dollar Tree Stores, Inc.
              Dr. Reddy’s Laboratories, Inc.
              Duane Reade, Inc.
              Express Scripts, Inc.
              Family Dollar, Inc.
              Fred Meyer Stores, Inc
              Geri‐Care Pharmaceuticals, Corp.
              Giant Eagle, Inc.
              Glenmark Pharmaceuticals Inc., USA
              Golden State Medical Supply, Inc.
              Granules USA, Inc
              H‐E‐B LP f/k/a HEB Grocery Company
              Heritage Pharmaceuticals, Inc.
              Hikma Pharmaceu cals USA, Inc. f/k/a West‐Ward Pharmaceu cals Corp.
              Humana Pharmacy Solutions, Inc.
              Hy‐Vee, Inc.
              Kaiser Permanente International
              L. Perrigo Co.
              Lannett Co. Inc.
              McKesson Corporation
              Medicine Shoppe International, Inc.
              Mylan Institutional LLC
              Mylan Pharmaceuticals Inc.
              Mylan Inc.
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                         In Re: Zantac (Ranitidine) Product Liability Litigation
                                                       MDL No 2924
                                                         Exhibit A
                         Order for Service of Short Form Complaints on Non‐Brand US Defendants




              Defendant
              Nostrum Laboratories Inc.
              Novitium Pharma LLC
              OptumRx, Inc.
              PAI Holdings, LLC f/k/a Pharmaceutical Associates, Inc.
              Par Pharmaceutical Inc.
              Perrigo Company
              Perrigo Research & Development Company
              Precision Dose Inc.
              Price Chopper Operating Co., Inc.
              Publix Supermarkets, Inc.
              Ranbaxy Inc.
              Rite Aid Corporation
              Safeway, Inc.
              Sam’s West, Inc.
              Sandoz Inc.
              Shop‐Rite Supermarkets, Inc.
              Smith’s Food and Drug Centers, Inc.
              Southeastern Grocers, Inc. f/k/a Southeastern Grocers, LLC
              Strides Pharma, Inc.
              Sun Pharmaceutical Industries, Inc., f/k/a Ranbaxy Pharmaceuticals Inc.
              Taro Pharmaceuticals U.S.A., Inc.
              Teva Pharmaceuticals U.S.A., Inc.
              The Kroger Co.
              Torrent Pharma Inc.
              Wakefern Food Corporation
              Walgreens Boot Alliance, Inc.
              Walgreens Co
              Walmart Inc. f/k/a Wal‐Mart Stores, Inc.
              Watson Laboratories, Inc
              Winn Dixie Stores, Inc.
              Wockhardt USA LLC, formerly known as Wockhardt USA, Inc.
              Zydus Pharmaceuticals (USA) Inc.
